                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NORTHEASTERN DIVISION


 DR. JULIA GRUBER, et al.,

         Plaintiffs,                               Case No. 2:21-cv-00039

 v.                                                Chief Judge Waverly D. Crenshaw, Jr.
                                                   Magistrate Judge Alistair E. Newbern
 TENNESSEE TECH BOARD OF
 TRUSTEES, et al.,

         Defendants.


                                              ORDER

        Pursuant to Chief Judge Crenshaw’s order (Doc. No. 53), the Magistrate Judge held a

telephone conference with counsel for the parties regarding Plaintiffs’ motion for a preliminary

injunction (Doc. No. 51). The Court ORDERS as follows:

        The parties have engaged in written discovery and have scheduled the plaintiffs’

depositions to take place before July 29, 2022, and may set the deposition of another witness during

that time (Doc. No. 50). That discovery shall conclude before the defendants respond to the motion

for a preliminary injunction. To accommodate that discovery period, the defendants’ deadline to

respond to the motion for a preliminary injunction is set on August 10, 2022. The plaintiffs shall

file any optional reply by August 17, 2022.

        The parties believe that the motion for a preliminary injunction can be decided on the briefs

and without a hearing. If Chief Judge Crenshaw intends to hold a hearing, the parties are available

on the following dates: August 25-26, 2022; September 5-9, 2022; September 19-23, 2022.




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        The parties shall continue their discussions to identify a mediator and shall engage in

mediation by September 30, 2022. The parties shall file a joint report of their progress on this front

by August 19, 2022.

        The deadline to file any motions for summary judgment is EXTENDED to September 30,

2022.

        The February 21, 2023 trial date remains as set by Chief Judge Crenshaw’s order (Doc.

No. 28).

        It is so ORDERED.



                                                      ____________________________________
                                                      ALISTAIR E. NEWBERN
                                                      United States Magistrate Judge




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